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Case 2:04-cv-02198-BBD-dkv Document 32 Filed 06/02/05 Page 1 of 2 Page|D 31

UNITED STATES DISTRICT COURT

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DIXIE ELEC'I‘RICAL MANUFACTURING coMPANY, HOBEHT §'S|D'D,'S§OY
W.r). 0;= m MEMPHrs
Piaintiff,
v. NO. 04-2193 Dv
FASTEEL CORPORA'HON d/b/a FOUNDATION ting 51 '='"»
TECHNOLOGY, INC; RICHARD RUIZ, LLC; Dr?_‘§g
AND RICIIARD RUIZ, ludiviauauy, 35 w
". '_ - N
Defendants. ' ` . _
j _ _, z
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GRDER DIsMIssING WITHOUT PREJUDICE RICHARD RUIZ, LLC§$}¢§ § -" \
AND RICHARD RUIZ, INDIVIDUALLY

 

 

This matter came to be heard upon Motion of plaintiff Dixie Electrical Manufacturing

Cornpany (“Dixie”) 10 dismiss, Without prejudiee, the defendants Richard Ruiz, LLC and
Richard Ruiz, individually

WHEREFORE, IT IS ORL)ERED

that the defendants Richard Ruiz, LLC and Rlehard
R_uiz, individually are hereby dismissed wiihc)ut prejudice as to re-f`lling.

 

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June 7, 2005 to the parties listed

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02198 Was distributed by faX, mail, or direct printing on

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Honorable Bernice Donald
US DISTRICT COURT

